                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

In re:

MARK H. ENGEN                                                        Case No. 15-20184-rdb-13
MAUREEN E. ENGEN

             Debtors


  APPLICATION FOR SUPPLEMENTAL COMPENSATION PURSUANT TO §503(b)

   COMES NOW David A. Reed, Esq., successor counsel, and moves the Court for an Order

granting compensation pursuant to §503(b) of Title 11 to be paid through the confirmed plan.

   WHEREFORE the following suggestion is made to the Court:

   1. Counsel entered his appearance on January 23, 2016 (Doc #51), and filed a Fourth

Amended Chapter 13 Plan on February 5, 2016 (Doc. 52) and a new Form 122C-1 (Doc. #54),

obtaining ultimate confirmation of the plan as amended (Doc. 75) on December 12, 2016.

   WHEREFORE Counsel requests an award of $1,000.00 as and for attorney fees concerning

services necessary to obtain confirmation of a plan.


__/s/ David A. Reed________
David A. Reed #14581 KS
DAVID A. REED & ASSOCIATES P.A.
7823 Parallel Parkway
Kansas City, KS 66112
(913) 342-7200
(913) 342-1001 fax
BKLAW@swbell.net
Attorneys for Debtors




                 Case 15-20184       Doc# 97     Filed 04/03/18   Page 1 of 2
                                CERTIFICATE OF SERVICE

   I hereby certify that a true and correct copy of the foregoing was mailed, postage prepaid,
and addressed to the following on this 3rd day of April 2018: Debtors, William H. Griffin,
Trustee, and all other parties in interest per PACER.

__/s/ David A. Reed_________
David A. Reed #14581 KS




                 Case 15-20184       Doc# 97     Filed 04/03/18     Page 2 of 2
